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Honorable Judge Amit P. Mehta United States District Court
c/o Benjamin Schiffelbein, Esquire

Assistant Federal Public Defender

210 First Street SW,

Suite 400

Roanoke, VA 24011

My Name is Jennifer Murphy.

lama house wife, & stay at home mother to Markus Malys children. Our 7 year ald son, Conner. Our 2
year old daughter, Octavia. As well as, Ben, his 23 year old autistic son from a previous relationship.
| first met Mark in the summer of 1988 at the mall in St Petersburg, FL not long after | turned 12 years
old. He was 14. My older brother was friends with his older brother.

We stayed in contact off & on seeing each other at house parties, the mall & whatnot. We were both
considered problemed teenagers. My mother sent me to live with my oldest sister in a different town in
FL when | was 15 & | lost contact with Mark.

We ran into each other after | was 19.

We saw each other here & there throught the years & were together on & off until the spring of 2014.
We have been in a relationship ever since.

We were living in St Petersburg FL in July of 2015. The month before our son was born we decided we
didn't want to live in that area anymore. We didnt want to raise our child in the same city that we
struggled in as teenagers & adults. We wanted to get away from the people we've known almost our
entire lives that never want to change or grow. We wanted to start new, somewhere far away.

| knew my stepfather had not been doing well physically, & my mother was completely stressed out
with worry.

So, | called my mother & told her Mark & | were coming to VA. We have lived in VA with my parents
helping them since then.

It was the best decision for ourselves & our children we ever made.

In 2016 Marks son who had just turned 17 came to live with us.

In 2020 our daughter was born. Mark delivered her.

Mark is one of the most caring, thoughtful people I've ever met. He's the type of person that will offer
to carry something for a person he doesnt even know if he thinks they need help.

He holds doors open for people in public places.

He always asks "do you need help?" if he sees someone he thinks may need it.

He opens the car door & any other doors for me. Lol, he never lets me carry or move heavy things even
when | say | can handle it.

He's a wonderful, & devoted father to his children. He takes time for them even when he's had a long
day. | have thousands of pictures & videos of him singing & dancing with Octavia. Playing cars, coloring,
& playing outside with Conner. Playing ball with the boys. Or hanging out with Ben outside while hes
swinging, or watching tv.

Hes an amazing father figure to my oldest daughter & an amazing grandpa to her children. She even
gave him a #1 Dad shirt one year for fathers day.

He's been the best husband | could ever hope for & has allowed me to grow & change for the better in
so many ways on my path to becoming my best self.

He's an extremely good, & hard worker. Anyone he's worked for or with will tell you that.

Since moving to VA Mark literally goes to work, goes to the store, & comes home. The only other things
he does is go to our childrens Dr appointments, & family outings. He doesn't do anything except take
care of his family.
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| could not be more proud of the man Mark has become. To see his growth from when he was younger
is nothing short of inspiring, & amazing. He's worked hard to better himself not just in his own eyes, but
in every way.

He knows that going to that rally completely devastated our family emotionally, mentally, & financially.
| know he wishes he had never gone to that rally. He's told me himself many times & apologized to me
more times than | can count. He knows it was a major lack of judgment & he's promised to never go to
another one. Ever. All he wants to do & be is a good father, & husband. To go to work, come home &
spend time with his family like he used to.

That's all any of us want. To have him home again.

Thank you so much for your time,

Jennifer Murphy
